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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA                                  NOV 27 2023
 KYTCH, INC.

         Plaintiff,

 V.                                                 Case No. 3:23-cv-01998-TSH

 McDONALD'S CORPORATION,

         Defendant.

                      NOTICE OF CLAIM OF LIEN FOR ATTORNEY FEES

 ATTORNEY:                                          CLIENT:

 Clare Locke LLP                                    Kytch, Inc.
 10 Prince Street                                   3327 Seldon Court
 Alexandria, Virginia 22314                         Fremont, CA 94537
 tom@clarelocke.com
 libby@clarelocke.com
 (202) 628-7400

NOTICE: Pursuant to Va. Code§ 54.1-3932, the attorney named above has claimed a lien upon
the cause of action asserted by the client(s) or former client(s) named above as security for the
contracted fees for services rendered in relation to the cause of action or claim asserted in the
caption. Written notice of this lien is being given either within 45 days of the end of representation
or (a) in causes of action sounding in tort or for liquidated or unliquidated damages on contract,
before settlement or adjustment, whichever is earlier or (b) in cases of annulment or divorce, before
final judgment is entered, whichever is earlier.

NOTICE FURTHER: that the lien arises from a contract entered into between attorney and client
that expressly chooses Virginia law and requires arbitration of any dispute thereunder in Virginia
administered by the American Arbitration Association. It is anticipated that any dispute as to the
validity and amount of the lien must and will be determined in arbitration.

NOTICE FURTHER: that pursuant to Virginia Code§ 54.1-3932, written notice of this lien will
be provided by the undersigned to the clerk of the court in which a case may be pending, including
the clerk of the lJ .S. District Court for the Northern District of California.

Description of cause of action or claim upon which a lien is asserted: actions for damages and
other relief under the Lanham Act and statutory and common law of trade secrets, trade libel,
tortious interference, and interference with business relations, violation of California Business &
Professions Code§ 17200 et seq., violation of California Business & Professions Code§ 17500 et
seq., and related claims, as set forth more particularly in the pleadings in the captioned action.
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I, the undersigned counsel, certify that I have caused to be served a copy of this written notice to
my client(s) or former client(s) listed above. I have also caused to be served a copy of this written
notice to the opposing parties' attorneys or agents listed below.

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Date: November 24, 2023




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